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                         Exhibit A
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                         IN THE UNITED STATES DISTRICT COURT
                          FOR THE EASTERN DISTRICT OF TEXAS
                                  SHERMAN DIVISION

    THE STATE OF TEXAS, et al.,                    §
                                                   §
           Plaintiffs,                             §
    v.                                             §       Civil Action No. 4:20-cv-00957-SDJ
                                                   §
    GOOGLE LLC,                                    §
                                                   §
           Defendant.                              §

    STIPULATION AND PROPOSED ORDER FOR REPRODUCTION OF DISCOVERY

          This stipulation and proposed order is entered into by Plaintiffs and Defendant Google

   LLC. It is stipulated and agreed by Plaintiffs and Google, and ordered by the Court, that:

          (1)     The materials produced by and deposition testimony of: (a) non-parties in United

                  States v. Google LLC, No. 1:23-cv-00108 (E.D. Va.) (the “EDVA Action”) and in

                  the DOJ’s related pre-suit investigation of Google’s display ads business, and (b)

                  parties and non-parties in In re: Google Digital Advertising Antitrust Litigation,

                  No. 1:21-md-03010 (S.D.N.Y.) (the “MDL Action”) (collectively, the “Materials”)

                  are relevant and proportional to the parties’ claims and defenses in this case

                  under this District’s standard. See Local Rule CV-26    ; E-Contact Techs., LLC v.

                  Apple, Inc., No. 1:12-CV-471-LED-KFG, 2013 WL 12143967, at *2 (E.D. Tex.

                  Feb. 6, 2013) (citing Local Rule CV-26(d));     ECF No. 476.

          (2)     Subject to and consistent with the Modified Protective Order in the EDVA Action

                  and the Modified Confidentiality Order in the MDL Action (collectively, the

                  “Confidentiality Orders”), Google shall reproduce in this case any Materials not

                  previously produced to Plaintiffs in this case. To the extent any of the Materials



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                were designated as “Confidential” or “Highly Confidential” under either of the

                Confidentiality Orders, they shall be treated as “Confidential” or “Highly

                Confidential,” as designated, under the confidentiality order governing this case.

                See ECF No. 182.

         (3)    Any EDVA Non-Party, MDL Party, or MDL Non-Party that wishes to object to the

                reproduction of its Materials in this case shall seek a protective order from this

                Court within seven days of Google’s service of this Order on it. If no such

                protective order is sought or if a protective order is sought and denied, the parties

                will be able to use and rely on the Materials in this case. Any reproductions of the

                Materials shall be made within five business days of the above-described seven-

                day period or, if applicable, within five business days of the denial of a motion for

                protective order. See EDVA Modified Protective Order, Dkt. 203, ¶¶ 25–27; MDL

                Modified Confidentiality Order, Dkt. 685, ¶¶ 25–27.

         (4)    All the Materials reproduced to Plaintiffs can be used by any party in this case as if

                they were reproduced before the close of fact discovery in this case.

         It is so stipulated, through parties’ respective counsel, and Ordered by the Court on this

   ___ day of May, 2024.



                                                              Sean D. Jordan
                                                              United States District Judge




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   Dated: May 28, 2024                               Respectfully submitted,

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                                    CERTIFICATE OF SERVICE

          I certify that, on May 28, 2024, this document was filed electronically in compliance with
   Local Rule CV-5(a) and served on all counsel who have consented to electronic service, per Local
   Rule CV-5(a)(3)(A).


                                                        /s/ R. Paul Yetter
                                                        R. Paul Yetter




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